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                        UNITED STATES BANKRUPTCY COURT
                                 District of Delaware
                             824 Market Street, 3rd Floor
                                Wilmington, DE 19801

In Re:                                              Chapter:                      7
Powerwave Technologies, Inc.
1801 E. St. Andrew Place
Santa Ana, CA 92705
EIN: 11−2723423

a/k/a:                                              Case No.:                     13−10134−MFW




                        NOTICE OF CONVERSION OF CHAPTER 11 TO CHAPTER 7


NOTICE IS HEREBY GIVEN that on 6/11/13 the chapter 11 petition filed by the above−named debtor(s)
converted to a chapter 7 petition. If you have previously filed a request for allowance and/or payment of an
administrative expense, that request will not be noticed for a hearing at this time. You will receive written notice in
the future when your administrative expense claim(s) will be scheduled for a hearing. You will receive further
notification regarding the scheduling of Meeting of Creditors and the filing of claims. You do not need to file another
proof of claim if you previously filed one.




                                                                David D. Bird, Clerk




Dated: 6/26/13

(VAN−038)
